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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                      LEXINGTON DIVISION

 REPUBLIC SERVICES, INC.,

                 PLAINTIFF

 v.                                                       CIVIL ACTION NO. 03-494 KSF
 LIBERTY MUTUAL INSURANCE                                 ELECTRONICALLY FILED
 COMPANY, LIBERTY INSURANCE
 ACQUISITION CORPORATION f/k/a
 LIBERTY MUTUAL FIRE INSURANCE
 COMPANY, LIBERTY INSURANCE
 CORPORATION, LM INSURANCE
 CORPORATION, THE FIRST LIBERTY
 INSURANCE CORPORATION and
 HELMSMAN MANAGEMENT SERVICES,
 INC.,
           DEFENDANTS.

   DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO DISMISS COUNT
   EIGHT OF THE PLAINTIFF’S FIRST AMENDED COMPLAINT FOR FAILURE TO
  STATE A CLAIM AND FOR FAILURE TO PLEAD FRAUD WITH PARTICULARITY

                                         *   *   *    *   *

         Comes the Liberty Companies, by counsel, pursuant to Fed. R. Civ. 12 and 9(b), move

 this Court to dismiss Count Eight of the Plaintiff’s First Amended Complaint for failure to state a

 claim upon which relief can be granted, and failure to plead fraud and misrepresentation with

 particularity. In support, the Liberty Companies state as follows:

 I.      INTRODUCTION.

         This case involves a dispute over the handling of the Plaintiff’s workers compensation

 files by the Liberty Companies. The Plaintiff and the Liberty Companies entered into a

 contractual relationship whereby the Liberty Companies provided worker’s compensation

 insurance and claims administration services to Republic for three consecutive terms beginning




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 July 1998, July 1999, and July 2000. The parties’ contract consisted of a number of documents

 highlighted within the Liberty Companies’ previously filed Counterclaim.

         The Plaintiff alleges that the Liberty Companies improperly handled a number of claims

 within the subject workers compensation program, resulting in damages to the Plaintiff. In

 response, the Liberty Companies deny mishandling any workers compensation files and further

 urge that a liquidated damages provision dictates the Plaintiff’s recoverable damages.

         The Plaintiff alleges within Count Eight of its First Amended Complaint that the Liberty

 Companies fraudulently misrepresented the way in which they would handle, administer and

 manage the subject workers compensation program. Count Eight should be dismissed because

 (1) it fails to describe with particularly the allegedly false statements, and (2) the allegedly false

 statements do not relate to past events.


 II.     ARGUMENT


         A.      The Elements of Fraud and Misrepresentation

         In order to maintain a fraud claim, a plaintiff must plead: 1) there was a material

 representation; 2) which is false; 3) known to be false or made recklessly; 4) made with

 inducement to be acted upon; 5) acted in reliance thereon and 6) causing injury. See,United

 Parcel Service v. Rickert, 996 S.W.2d 464, 468 (Ky. 1999); Wahba v. Don Corlett Motors, Inc.,

 573 S.W.2d 357 (Ky. 1978).


         Similarly, the tort of negligent misrepresentation, while a separate tort from fraud, shares

 the same elements with the narrow exception that negligent misrepresentation “demands only

 that a false representation or concealment be made negligently, rather than recklessly or knowing

 of its falsity." Crescent Grocery Co. v. Vick, 240 S.W. 388, 389 (Ky. 1922); Investors Heritage


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 Life Ins. Co. v. Colson, 717 S.W.2d 840, 842 (Ky. Ct. App. 1986). Thus, the pleading with

 particularity requirements are the same for fraud claims and negligent misrepresentation claims.


         B.      Count Eight of the Plaintiff’s First Amended Complaint Fails to Plead Fraud
                 and Misrepresentation with Particularity.

          The Plaintiff alleges within Count Eight, Paragraph 92 of its First Amended Complaint

 that “[t]he Liberty Companies made materially false misrepresentations regarding their workers

 compensation claims handling practices, procedure and guidelines by which they would handle,

 administer and manage the Workers Compensation Program for Republic.” Noticeably absent

 from Count Eight is the inclusion of any specifics surrounding the false representations such as

 the nature, time, place, author or contents of the false representations. The Plaintiff does not

 even distinguish which of the multiple defendants purportedly made false representations or to

 whom such representations were made. Thus, the Plaintiff’s claims for fraud and

 misrepresentation should be dismissed for failure to plead such allegations with particularity.

         Rule 9 of the Federal Rules of Civil Procedure makes it clear that "[i]n all averments of

 fraud . . . the circumstances constituting fraud . . . shall be stated with particularity." Fed. R. Civ.

 P. 9(b). "The purposes of this special pleading requirement are to protect a defending party's

 reputation from harm, . . . and to provide detailed notice of a fraud claim to a defending party.

 The Rule also discourages meritless fraud accusations that can do serious harm to the goodwill

 of a business or professional person." 2 Moore's Federal Practice § 9.03[1][a], at 9-17 (3d ed.

 2002) [hereinafter, "Moore's"]. "The reference to ‘circumstances constituting fraud’ usually

 requires the claimant to allege at a minimum the identity of the person who made the fraudulent

 statement, the time, place, and content of the misrepresentation, the resulting injury, and the

 method by which the misrepresentation was communicated." Id. § 9.03[1][b], at 9-18 (citing,

 inter alia, Coffee v. Foamex, L.P., 2 F.3d 157, 161-62 (6th Cir. 1993) (allegations of time, place,

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 content, fraudulent scheme, fraudulent intent, and resulting injury required)). At a minimum, a

 complaint must "'allege the time, place, and content of the alleged misrepresentation on which he

 or she relied; the fraudulent scheme; the fraudulent intent of the defendants; and the injury

 resulting from the fraud." Bledsoe v. Community Health Systems, 342 F.3d 634, 643 (6th Cir.

 2003) (internal quotations marks and citations omitted).

         Where multiple defendants are named, the complaint must contain specific allegations as

 to which defendant committed the fraudulent act. Bender v. Southland Corp., 749 F.2d 1205,

 1216 (6th Cir. 1984); Picard Chem. Inc. Profit Sharing Plan v. Perrigo Co., 940 F. Supp. 1101,

 1117 (W.D. Mich. 1996). If a fraud claim involves multiple defending parties, “the claimant

 must make specific and separate allegations against each defendant.” Moore’s at § 9.03[1][g] at

 9-25.

         The Plaintiffs' First Amended Complaint wholly fails to provide any Defendant with

 notice of misstatements which purportedly serve as the alleged fraudulent conduct on which

 Plaintiffs' claims are based. The Plaintiff fails to provide any hint as to the contents of the

 alleged fraudulent statements, the author of such statements or the time in which such statements

 were made and/or relied upon. Since Plaintiff’s First Amended Complaint patently fails to meet

 the required Rule 9(b) pleading standards, it must be dismissed.

         C.      Count Eight of the Plaintiff’s First Amended Compliant Fails to State a
                 Claim Upon Which Relief can be Granted and Therefore Should be
                 Dismissed.

         The Plaintiff’s claims of fraud and misrepresentation are not viable because they are

 based on promises of future conduct and results, not on statements relating to past or existing

 events. The Kentucky Supreme Court established that “fraud cannot be predicated upon

 statements which are promissory in their nature when made and which relate to future actions or

 conduct, upon mere failure to perform a promise - nonperformance of a contractual obligation -

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 or upon failure to fulfill an agreement to do something at a future time or to make good

 subsequent conditions which have been assured. Such nonperformance alone has frequently been

 held not even to constitute evidence of fraud." Mario's Pizzeria, Inc. v. Fed. Sign & Signal

 Corp., Ky., 370 S.W.2d 736,. 740 (1964) (quoting 23 Am. Jur. Fraud and Deceit § 38).

 Likewise, actionable “misrepresentation must relate to a past or present material fact which is

 likely to affect the conduct of a reasonable man and be an inducement of the contract.”

 McHargue v. Fayette Coal & Feed Co., 283 S.W. 2d 170, 172 (Ky. 1955). See also, Hunt

 Enter., Inc. v. John Deere Industrial Equip., 18 F. Supp.2d 697, 702 (W.D.Ky. 1997) (citing,

 Schroerlucke v. Hal, 249 S.W.2d 130, 131 (Ky. 1952)); John L. St. Martin v. KFC Corporation,

 935 F.Supp. 898, 908 (W.D. Ky. 1996).

         In the present action, the Plaintiff bases its fraud claim on the Liberty Companies

 purported misrepresentation of how “they would handle, administer and manage the Workers

 Compensation Program” for the Plaintiff. (Plaintiff’s First Amended Complaint, ¶92). The

 purported misrepresentations imputed to the Liberty Companies relate solely to statements of

 future conduct and future claims handling, not to past or present facts. The Plaintiff, therefore,

 fails to state a viable claim of fraud or misrepresentation, and those counts should be dismissed

 as a matter of law.

                                           CONCLUSION

         Count Eight of the Plaintiff’s First Amended Complaint fails to plead allegations of fraud

 with particularly. In addition, Count Eight’s allegations of fraud relate to future, not past or

 present actions, on the part of the Defendants. For either or both of these reasons, Count Eight of

 Plaintiff’s First amended Complaint should be dismissed.




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                                          ___/s/ Gregory P. Parsons_________
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 I hereby certify that on November 28, 2005, I
 Electronically filed the foregoing with the
 Clerk of the Court using the CM/ECF system, which
 Will send a notice to the following:

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 s/Gregory P. Parsons




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